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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


JEREMY GUSLOFF,
individually and on behalf of
all those similarly situated,
                                                      Case No. 21-cv-662-wmc
                    Plaintiff,

      v.

QUINCY BIOSCIENCE HOLDING COMPANY, INC.,

                    Defendant.


  JOINT MOTION FOR COURT APPROVAL OF SETTLEMENT AGREEMENT
                 AND DISMISSAL WITH PREJUDICE


      The parties, by their undersigned counsel, hereby respectfully ask the Court to

issue an order (1) approving their proposed agreement settling this matter in full;

(2) awarding $7,000 in attorney fees and costs to counsel for Plaintiff Jeremy Gusloff;

and (3) dismissing this action with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(2), without further costs to either party. The reasons for this motion

are provided in a supporting brief filed jointly by the parties.
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Dated this 8th day of March, 2022.

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